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                         UMTED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


 ln re:
 SHANNON W.        GUICE,                             CaseNo. 6:19-bk-0A458-CCJ
                                                      chaPter   13
                 Debtor.
                                               /

               AFFIDAVIT OF' PINNACLE' BUSINESS F'UNDINGS. LLC

 STATE OF FLORIDA

 COLTNTY OF ORANGE

          BEFORE ME, the undersigned authority, personally appeared CI1ARLES

 MARCONE, IR., who being first duly sworn deposes and says as follows:

          l.     My name is Charles Marcone, Jr., and I am over the age of      18   years. I am

 the manager of Pirnacle Business Fundings, LLC ('PBF'), and         I   am authorized to make

 this affidavit on its behalf.

          2.     I make this affidavit based on my personal knowledge, and based on the

 business records of   PBF. Those records were made in the ordinary course of business,       as


 part of PBF's regularly-conducted business actirrities- The recotds were made by or from

 infonnation transmitted by persons with knowledge of the events described therein, at or

 near the time of the event described. The records are and remain under my personal

 custody and conkol.

          3.     Shannon W. Guice has never been employed by PBF in any capaciry, and

 she has never worked     for PBF. PBF does not pay her $6,500 per month, nor does or did




                                                    EXHIBIT E
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  it pay her any amounts, ever, for any reason. PBF will not pay Shannon W. Guice any

  amounts at any time in the future. PBF does not owe any money to Shannon W. Guice or

  her husband, Kevin W. Guice.

         4.      PBF has never issued any IRS form W-2 to Shannon W. Guice, nor has      it

  ever issued any IRS form 1099 to Shannon W. Guice. The reason for this is that Shannon

  W. Guice has never been an employee of PBF, nor has she ever been an independent

  contractor supplying any services to PBF.

                                               PINNACLE BUSINESS




         SWORN AND SUBSCRIBED TO this                 Ag tb       day of March, 2a19, by
                                              v"
  Charles Marcone, Jr., who is personally known to me or who produced

                                                               as identification, and who

  did take an oath.




                                               Notary Public, State of Florida atlarge

  My commission expires:
